                          Case 2:18-cv-04471-RBS                           Document 9-3                 Filed 01/24/19                Page 1 of 1
                                                  PHILADELPHIA MUNICIPAL COURT
                                             FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                                           1339 Chestnut Street, 10th Floor, Philadelphia, PA 19107
                                              Marsha H. Neifield, President Judge Patricia R. McDermott, Deputy Court Administrator

                                                                     STATEMENT OF CLAIM
   Code: Consumer Purchase - (4)                                                 SC/CP: # SC-17-12-22-5793
   LVNV Funding LLC                                                                    Rojelio Ramos
   625 Pilot Road Suite 3                                                              1033 W Russell Street
   Las Vegas, NV 89119                                                                 Philadelphia, PA 19140




                                                                        Plaintiff(s)                                                                              Defendant(s)
   Service Address (information) if other than above:

   To the Defendant: Plaintiff is seeking a money judgment against the Defendant(s) based on the following claim:
   Plaintiff, LVNV Funding LLC, is the Assignee and Successor in Interest of Account number ending in
   ************4051; and, said credit account was issued to Defendant(s), Rojelio Ramos by Credit One
   Bank, N.A., the Original Creditor. Defendant, Rojelio Ramos, received, accepted and used the
   account to its benefit. This account is in default due to defendant's failure to make timely
   payments. Although demand has been made, Defendant, Rojelio Ramos, has failed to make payment of
   the amount due and owing. Defendant, Rojelio Ramos, is an adult individual residing at 1033 W
   Russell St, Philadelphia PA 19140-5420. The amount due and owing as of this date is $2,139.17.


   Internal File: RES81492




   Summons to the Defendant                                                                      Amount Claimed
   You are hereby ordered to appear at a hearing                                                 Principal                         $                2139.17
   scheduled as follows:                                                                         Interest                          $                   0.00
   Citation al Demandado                                                                         Attorney Fees                     $                   0.00
   Por la presenta, Usted esta dirljido a presentarse a la                                       Other Fees                        $_______________________
                                                                                                                                                       0.00
   siguiente:                                                                                             Subtotal                 $_______________________
                                                                                                                                                    2139.17
                                                                                                 Service                           $                  27.00
                                                                                                 State Fee                         $                  14.75
   1339 Chestnut Street 6th Floor                                                                Automation Fee                    $                   5.50
   Philadelphia, PA 19107
   Hearing Room: 5                                                                               Convenience Fee                   $                   5.00
                                                                                                 JCS St. Add. Surcharge            $                  11.25
                                                                                                 JCS St. Add. Fee                  $                   2.25

   March 2nd, 2018
                                                                                                 ATJ Fee                           $                   2.00
                                                                                                 ATJ Surcharge                     $                  10.00
                                                                                                 Court Costs                       $_______________________
                                                                                                                                                      44.00
                                                                                                 TOTAL CLAIMED                     $_______________________
                                                                                                                                                    2260.92
   01:00 PM
                                                                                                 Date Filed: _________
                                                                                                             12/22/2017



I am an attorney for the plaintiff(s), the plaintiff's authorized representative or have a power of attorney for the plaintiff(s) in this statement of claims action. I hereby
verify that I am authorized to make this verification; that I have sufficient knowledge, information and belief to take this verification or have gained sufficient knowledge,
information and belief from communications with the plaintiff or the persons listed below and that the facts set forth are true and correct to the best of my knowledge,
information and belief. I understand that this verification is made subject to the penalties set forth in 18 Pa. C.S. § 4904, which concerns the making of unsworn
falsifications to authorities. If I am an authorized representative or have a power of attorney, I have attached a completed Philadelphia Municipal Court authorized
representative form or a completed power of attorney form.



              MICHELLE L. SANGINITI, Esq
   ______________________________                                         Address & 165 PASSAIC AVENUE SUITE 301B
                                                                          Phone     FAIRFIELD, NJ 07004
   Signature Plaintiff/Attorney
              311248
   Atty ID #: _____________                                                         973-226-0050

     NOTICE TO THE DEFENDANT, YOU HAVE BEEN SUED IN COURT.                                        AVISO AL DEMANDADO LE HAN DEMANDADO EN CORTE. VEA POR FAVOR
     PLEASE SEE ATTACHED NOTICES                                                                  LOS AVISOS ASOCIADOS.

                           If you wish to resolve this matter without appearing in court, please contact the attorney shown above immediately.
                                                            Exhibit P-3
